                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION – DETROIT



IN RE:

         RUSSEL D. BLACK, JR. and                                  Case No. 09-78266-wsd
         DEBRA M. BLACK,                                           Chapter 7

            Debtors.                                               Hon. Walter Shapero
_________________________________________/


                   OPINION REGARDING DEBTORS’ MOTION TO
                   HOLD IRON WORKERS’ LOCAL 25 PENSION FUND
                   IN CONTEMPT FOR VIOLATING 11 U.S.C. § 524


                                         INTRODUCTION

         Debtors filed this joint chapter 7 bankruptcy on December 16, 2009. They were granted a

discharge of eligible debts on March 30, 2010. Creditor Iron Workers’ Local 25 Pension Fund

(“the Pension Fund” or “Fund”), through an assignment, became the holder of a mortgage debt

on Debtors’ primary residence. As additional security for this debt, Mr. Black granted the Fund a

lien on a 50% interest (“the Pension Assignment”) in his own Iron Workers’ Local 25 pension.

After the bankruptcy discharge, the Pension Fund judicially foreclosed the mortgage, bid in at

the sale, and later sold the property. In order to recoup the resultant deficiency, the Fund began

withholding 50% of Mr. Black’s monthly pension payments (“the Pension Benefits”) pursuant to

the Pension Assignment. Debtors successfully moved to reopen this case on September 3, 2013.

Debtors then filed this Motion to Hold Iron Workers’ Local 25 Pension Fund in Contempt, which

the Court heard on an expedited basis. For the following reasons, Debtors’ motion is denied.




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                                               FACTUAL BACKGROUND

          On December 12, 2013, the Court entered a stipulated Order containing the undisputed

facts and exhibits to be admitted into evidence. (Order Regarding Facts and Exs., Dec. 6, 2013,

ECF No. 54).1 The Court incorporates the following as its findings of fact: Debtors purchased

certain real property located at 4154 Harris Rd., Lakeport, Michigan 48059 (“the residence”).

(Stip. F.– B). On or about December 26, 2001, Debtors executed and delivered a promissory note

to AAA Mortgage Corporation in the principal sum of $200,000. (Stip. F.– E). Debtors granted

AAA Mortgage a mortgage in the amount of $200,000. (Stip. F.– F). On or about May 9, 2003,

Russel Black executed the Pension Assignment, whereby he assigned a 50% interest in his Iron

Workers’ Local 25 Pension Benefits to the Pension Fund to serve as security in the event that it

became necessary to foreclose on the mortgage and the proceeds of the mortgage sale were

insufficient to satisfy any unpaid balance, accrued interest, costs (including legal fees), and

penalties owed. (Stip. F.– H); (Ex. E).

          Debtors filed a voluntary petition for relief under Chapter 7 of the Bankruptcy Code on

December 16, 2009. Debtors did not reaffirm any of the debts associated with the residence.

(Stip. F.– L). The Debtors received a discharge under 11 U.S.C. § 727 on March 30, 2010. (Ex.

J). Chapter 7 Trustee Homer W. McClarty filed his Report of No Distribution on January 28,

2010. (Stip. F.– O). On or about October 25, 2011, the Pension Fund commenced an action for

Judicial Foreclosure in the St. Clair County Circuit Court with respect to the mortgaged

residence. (Stip. F.– R). A Default Judgment of Foreclosure (“the state court foreclosure

judgment”) was entered by the Honorable Judge Daniel J. Kelly on or about April 30, 2012.

(Stip. F.– T). The Judgment stated that “the entire unpaid balance of the mortgage debt has been

accelerated and is due and payable, in the amount of $242,917.94, as of April 30, 2012, with

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     Stipulated facts hereinafter referred to as “Stip. F.– [ ].”

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interest accruing at a contractual rate of 5.5%.” (Ex. P, at 2). The Judgment also contained the

following language:

            IT IS FURTHER ORDERED that no provision of this Judgment shall entitle
        Plaintiff to collect any personal debt obligation that was owed by Russel D.
        Black, Jr. . . . , prior to the Russel D. Black, Jr. . . . bankruptcy filing.
            IT IS FURTHER ORDERED that if proceeds from the sale are not
        sufficient to pay the debt in full, that Plaintiff shall not be entitled to a deficiency
        judgment against defendants Russel D. Black, Jr. . . . and Debra M. Black . . . .

Id. at 4 (emphasis original).

        A judicial foreclosure sale took place on July 5, 2012, and the Pension Fund credit bid

$247,022.07, which was the full amount of outstanding debt. (Stip. F.–Y).2 The Pension Fund

then sold the property to a third party on or about June 20, 2013, for $119,900. (Stip. F.– AA).

On July 16, 2013, the Pension Fund wrote Russel Black and notified him that the Pension Fund

had decided to exercise its rights under the Pension Assignment and that his Pension Benefits

would be reduced by $1,117.46 per month for the remainder of his life, to satisfy his remaining

debt in the total amount of $154,604.47 on the foreclosed Mortgage. (Stip. F.– CC). This set off

or reduction began with Mr. Black’s pension payment on August 1, 2013. Id. Debtors reopened

their bankruptcy case in order to file this Motion for Contempt on September 5, 2013. A hearing

on this motion was held on September 12, 2013. On September 20, 2013, the Court entered a

stipulated order barring the Pension Fund from withholding any further Pension Benefits from

Mr. Black until such time that the Debtors’ Contempt Motion was decided. (Stip. Order, Sept.

20, 2013, ECF No. 43) (“the Withholding Order”).

                                      STATEMENT OF JURISDICTION

        The Court has jurisdiction over Debtors’ Motion for Sanctions pursuant to 28 U.S.C. §§

157 and 1334. This is a core proceeding under 28 U.S.C. § 157(b)(2)(O) as it relates to the

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    This total amount bid represented $201,065.26 of outstanding principal debt, $33,296.99 of accrued interest,
$6,992.14 of advanced escrow, and $5,483.72 in fees and other charges. (Stip. F.–OO).

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liquidation of assets of the estate in addition to an action under title 11 for a possible violation of

the discharge injunction. In re Johnson, 439 B.R. 416, 420 (Bankr. E.D. Mich. 2010) aff'd on

other grounds, 10-14292, 2011 WL 1983339 (E.D. Mich. May 23, 2011) (citing Allard v.

Coenen (In re Trans-Industries, Inc.), 419 B.R. 21, 27 (Bankr. E.D. Mich. 2009)).

                                         ISSUE PRESENTED

         The sole issue presented to this Court is whether the Pension Fund violated the

bankruptcy discharge injunction of § 524(a)(2) by setting off the foreclosure deficiency debt

against Mr. Black’s Pension Benefits pursuant to the Pension Assignment.

                                            DISCUSSION

         Debtors claim that this set off violates the discharge injunction of § 524, as an attempt to

collect on a discharged debt. The Pension Fund raises three defenses: (1) that the Court lacks

jurisdiction to rule upon the alleged offenses, (2) that the Pension Fund’s loan to the Debtors was

a qualifying ERISA § 408(b)(1) transaction and therefore the resulting debt is non-dischargeable

under § 523(a)(18); and (3) that the language of the assignment makes it enforceable

notwithstanding the state court order.

         Section 524 of the Bankruptcy Code “operates as an injunction against the

commencement or continuation of an action, the employment of process, or an act, to collect,

recover or offset any such debt as a personal liability of the debtor . . . .” 11 U.S.C. § 524(a)(2).

In order to establish a violation of this discharge injunction, Debtors must prove by clear and

convincing evidence: (1) that they received a discharge of the debt at issue, (2) that the creditor

had notice of the discharge, and (3) that the creditor intended the acts that violated the discharge

injunction. In re Holley, 473 B.R. 212, 215 (Bankr. E.D. Mich. 2012) aff'd, 12-13088, 2013 WL

791549 (E.D. Mich. Mar. 4, 2013); see In re Motichko, 395 B.R. 25, 31 (Bankr. N.D. Ohio

2008).

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   I.      The Pension Fund’s Interests in Debtors’ Property Post-Discharge

        To succeed on their motion, Debtors must first prove that the Pension Fund has attempted

to collect on a discharged debt—i.e. a personal liability of the Debtors. 11 U.S.C. § 524(a)(2).

The Supreme Court has instructed that “a bankruptcy discharge extinguishes only one mode of

enforcing a claim—namely, an action against the debtor in personam—while leaving intact

another—namely, an action against the debtor in rem.” Johnson v. Home State Bank, 501 U.S.

78, 84 (1991). Actions against a debtor in rem do not violate the discharge injunction. “Chapter 7

bankruptcy discharge does not, in and of itself, discharge a creditor's lien. And actions that

merely seek to enforce a creditor's surviving lien are not considered to be actions to collect a debt

‘as a personal liability of the debtor’ within the meaning of the § 524(a)(2) discharge injunction.”

In re Johnson, 439 B.R. 416, 428 (Bankr. E.D. Mich. 2010) (citing 11 U.S.C. § 524(a)(2)). Thus,

if the Pension Fund withheld the Pension Benefits to set off against a discharged personal

liability of the Debtors then it has violated the discharge injunction. On the other hand, if it

merely pursued action against the Debtors in rem pursuant to a valid lien then it has not violated

the discharge injunction. To make this determination, the Court must first decide what interest

the Pension Fund had in Debtors’ property and how this interest was affected by the discharge.

        A. The Pension Fund’s Mortgage Was Not Affected by the Bankruptcy Discharge

        There is no dispute that the Pension Fund had a valid mortgage securing Debtors’

residence. It is well established that a mortgagee’s secured interest in property rides through

bankruptcy unaffected. See Johnson, 501 U.S. at 111 (“Even after the debtor's personal

obligations have been extinguished, the mortgage holder still retains a ‘right to payment’ in the

form of its right to the proceeds from the sale of the debtor's property.”). Once the Court granted

Debtors’ discharge, the Pension Fund was free to foreclose upon the mortgage uninhibited by the

automatic stay or the discharge injunction. See 11 U.S.C. § 362(c)(2)(C).

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        B. The Pension Fund’s Lien on Debtors’ Pension Benefits Rode Through Bankruptcy

        The Bankruptcy Code defines a “lien” as any “charge or interest in property to secure

payment of a debt or performance of an obligation.” 11 U.S.C. § 101(37). A security interest,

otherwise known as a consensual lien, is defined as a “lien created by agreement.” 11 U.S.C. §

101(51). Pursuant to Michigan’s Uniform Commercial Code, a security interest is created when

(1) value is given, (2) the grantor of the lien has rights in the collateral, and (3) the parties sign a

security agreement describing the collateral. See Mich. Comp. Laws § 440.9203(2). The

language of the Pension Assignment states:

        I understand that if, in the event of default (failure to pay) by me or my spouse or
        both of us, the mortgage note for which this assignment is intended as security, it
        should be necessary for the mortgagee, Iron Workers Local 25 Pension Fund, to
        foreclose on the mortgage secured by promissory note and this assignment, and
        should the proceeds of the mortgage sale be insufficient to satisfy any unpaid
        balance thereon, accrued interests, costs (including legal fees) and/or penalties,
        the Iron Workers Local 25 Pension Fund shall be entitled to reimburse from
        pension benefits to which I and my spouse might otherwise have been entitled, to
        recover its entire loss, including said unpaid balance, accrued interest, costs
        (including legal fees) and penalties.

(Ex. E) (emphasis added). When this Assignment was signed, the Pension Fund had provided

value in the form of loan proceeds and the Debtors had rights in the pension; thus all elements of

Mich. Comp. Laws § 440.9203(2) were met. Further, Debtors have not raised any argument

questioning the validity of this lien. Therefore, the Court finds that by the time Debtors filed

bankruptcy, the Pension Fund had attached a valid lien to Mr. Black’s pension.

        Next, the court must determine if the bankruptcy had any effect on this lien. On their

bankruptcy petition, Debtors listed Mr. Black’s Iron Workers’ Local 25 pension on Schedule C

and claimed it as 100% exempt.3 (Bankr. Pet. 12, ECF No. 1). Neither the trustee, nor any party

in interest, objected to this claimed exemption. Debtors cited §§ 522(d) and 541(c)(2) as the

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    The value of the pension was also listed as $1.00, despite providing Debtors “$991.45 per month.” (Bankr. Pet.
12, ECF No. 1).

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Code provisions that allow this exemption; however, these sections implicate two functionally

different methods of protecting assets in bankruptcy. Id. The former allows a debtor to claim an

exemption of estate property, whereas the latter excludes property from the estate altogether. See

11 U.S.C. §§ 522(d), 541(c)(2). Mr. Black’s pension was only excluded from the estate if it was

in a trust that restricted the transfer of its beneficial interest enforceable under nonbankruptcy

law. 11 U.S.C. § 541(c)(2). The Employee Retirement Income Security Act (ERISA) is such

applicable nonbankruptcy law that has the effect of excluding qualifying pension plans from the

bankruptcy estate under § 541(c)(2).4 Patterson v. Shumate, 504 U.S. 753, 760 (1992). Though

the issue of whether Mr. Black’s pension qualifies under ERISA was only discussed

tangentially,5 it is ultimately immaterial as the Pension Fund’s secured rights were unchanged

whether the pension was fully exempt or excluded from the estate.

         If Mr. Black’s pension was an ERISA-qualifying plan and was excluded from the

bankruptcy estate, the Pension Fund’s lien was likewise excluded from, and unaffected by, the

Debtors’ bankruptcy. See In re Herndon, 289 B.R. 629, 632 (Bankr. E.D. Mich. 2003) (holding

that the bankruptcy stay did not prevent a pension fund from setting off against a debtor’s ERISA

pension to satisfy a loan made from the plan); see also U.S. I.R.S. v. Snyder, 343 F.3d 1171, 1179

(9th Cir. 2003) (“[a]though exclusion . . . precludes the IRS from attaining secured status in the

bankruptcy proceeding, the IRS’s liens against [the debtor’s] interest are not extinguished or

otherwise affected. The liens continue to exist, but outside of bankruptcy.”). On the other hand,

even if the pension was not an ERISA-qualifying plan and became fully exempt property of the

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     However, “a loan made to a participant or beneficiary shall not be treated as an assignment or alienation if such
loan is secured by the participant’s accrued non-forfeitable benefit and is exempt from the tax imposed by section
4975 of Title 26.” 29 U.S.C. § 1056(d)(2). The Pension Fund’s assertion that this loan qualifies under § 408(b)(1) of
ERISA would necessarily mean that this anti-alienation exception also applies. Compare 29 U.S.C. § 1108(b)(1)
with 26 U.S.C. § 4975(d)(1). Thus, the lien on Mr. Black granted on his pension would not run afoul of the anti-
alienation provision of ERISA.
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     The Pension Fund argued that the loan was made out of an ERISA § 408(b)(1) plan for the purpose of asserting
§ 523(a)(18) non-dischargeability, but neither party addressed this argument with any level of detail.

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estate, the Pension Fund’s lien also rode through bankruptcy unaffected. “Chapter 7 bankruptcy

discharge does not, in and of itself, discharge a creditor's lien.” In re Johnson, 439 B.R. at 428.

Moreover, the trustee took no action during the pendency of the bankruptcy case to invalidate the

lien. Even assuming the lien impairs fully exempt property, it is a consensual lien that cannot be

avoided by § 522(f)(1)—it is not a judicial lien or a “nonpossessory, nonpurchase-money

security interest” in one of the enumerated household goods.6 11 U.S.C. § 522(f)(1). Thus,

regardless of whether Mr. Black’s pension was fully exempt or excluded from the estate, the

Pension Fund’s lien on the pension survived the bankruptcy discharge and validly and timely

attached.

      II.      The Pension Fund’s Enforcement of the Deficiency Judgment

            When the Court granted the Debtors’ discharge, it absolved them of any personal liability

to the Pension Fund for the mortgage debt. However, the liens on the Debtors’ residence and

pension survived, and provided the Pension Fund a post-discharge remedy to recover the debt

through the value of its collateral in an action in rem. The bankruptcy discharge injunction did

not bar the Pension Fund from attempting to collect on a deficiency that may have resulted from

a later foreclosure—it only prevented the Fund from enforcing a deficiency as a personal

liability of the Debtors. See 11 U.S.C. § 524(a)(2). Withholding the Pension Benefits was an

action in rem against the Debtors’ property, not in personam. See 11 U.S.C. § 553. Therefore, the

Pension Fund did not violate the discharge injunction.


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      This section only applies to the following goods:

  (i)    Household furnishings, household goods, wearing apparel, appliances, books, animals, crops, musical
instruments, or jewelry that are held primarily for the personal, family, or household use of the debtor or a
dependent of the debtor;
  (ii) Implements, professional books, or tools, of the trade of the debtor or the trade of a dependent of the
debtor; or
  (iii) Professionally prescribed health aids for the debtor or a dependent of the debtor.

  11 U.S.C. § 522(f)(1)(B).

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       The set off may have run afoul of the state court foreclosure judgment, which prohibited

the Pension Fund from collecting any deficiency judgment that may have resulted from the sale.

As noted, the state court foreclosure judgment stated:

           IT IS FURTHER ORDERED that if proceeds from the sale are not
       sufficient to pay the debt in full, that Plaintiff shall not be entitled to a deficiency
       judgment against defendants Russel D. Black, Jr. . . . and Debra M. Black . . . .

(Ex. P, at 2) (emphasis original). It may also be worth additionally recalling that this judgment

was a default judgment and thus its wording was likely proposed and presented by the attorneys

for the Pension Fund itself. Presumably, this language reflects the mandate of M.C.L. 600.3150

which provides that “[i]n the original judgment in foreclosure cases the court shall determine and

adjudge which defendants, if any, are personally liable on the land contract or for the mortgage

debt.” Mich. Comp. Laws Ann. § 600.3150. Under Michigan law it would appear that no

deficiency judgment can arise if (as happened here) a mortgagee credit bids the full outstanding

indebtedness at the sheriff’s sale. In re Miller, 459 B.R. 657, 673 (B.A.P. 6th Cir. 2011) aff'd,

513 F. App'x 566 (6th Cir. 2013) (applying Michigan law); see e.g. Pulleyblank v. Cape, 446

N.W.2d 345, 347 (1989) (explaining that the mortgagee “receives” the amount it credit bids at a

foreclosure sale; thus a full credit bid extinguishes the entire indebtedness).

       However, the foregoing possible violation of Michigan foreclosure law and/or the terms

of the state court foreclosure judgment do not establish a violation of the bankruptcy discharge

injunction. The two require separate and independent analyses, which Debtors seem to have

conflated. In their complaint they argue that “[t]he Judgment expressly barred the Pension Fund

from having any deficiency claim against the Debtors and further prohibited the Pension Fund

from collecting on any pre-bankruptcy claims.” (Compl. ¶ 28) (emphasis added) (referring to the

language of the state court foreclosure judgment). Even if the Pension Fund did violate the state

court foreclosure judgment, this has no bearing on whether it also violated the bankruptcy

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discharge injunction. While it appears that arguably Debtors have a cause of action against the

Pension Fund for violating that judgment and/or Michigan law, essentially because the Pension

Fund’s actions relate to its rights under state law with respect to its collateral, this Court can and

should only adjudicate this controversy as it relates to the bankruptcy discharge injunction. The

Pension Fund’s possible violations of Michigan law or the state court foreclosure judgment do

not arise under title 11 nor do they affect the Debtors’ estate. See 28 U.S.C. § 157(b)–(c); see

also In re Perry, 388 B.R. at 338 (holding that bankruptcy court does not have jurisdiction over

post-judgment disputes that do not affect the debtor’s estate).

                                           CONCLUSION

       The Court therefore finds that the Pension Fund did not “collect, recover or offset any

such debt as a personal liability the debtor[s]” by withholding Mr. Black’s monthly Pension

Benefits. 11 U.S.C. § 524(a)(2) (emphasis added). However, this disposition should not be

construed to prejudice or impair Debtors’ rights to further pursue other legal causes of action

arising out of these same facts in state court against the Pension Fund (on which this Court has

commented, but is not ruling). Moreover, in order to provide Debtors the opportunity to pursue

any such claims further without the hardship imposed by the Fund’s set off, the Court is

extending the Withholding Order entered September 20, 2013 [ECF No. 43] for 90 days from the

date of entry of this opinion, subject to an extension thereof for cause, moved for prior to the

expiration of that period.

       Debtors’ Motion to Hold the Pension Fund in Contempt is denied. The Pension Fund

should present an order consistent with this opinion.
                                                  .

Signed on February 14, 2014
                                                  ____ __/s/ Walter Shapero_    ___
                                                     Walter Shapero
                                                     United States Bankruptcy Judge

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